Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1160 Page 1 of 28




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10                    IN THE UNITED STATES DISTRICT COURT
11                          FOR THE SOUTHERN DISTRICT
12   ALEX MONTOYA, REX SHIRLEY,           )          CASE NO. 3:19-cv-00054-JM-BGS
     PHILIP PRESSEL, and WYLENE           )
13   HINKLE, individually, and on behalf of
                                          )          SECOND AMENDED CLASS
     all others similarly situated,       )          ACTION COMPLAINT FOR:
14                                        )
                     Plaintiffs,          )          1. 42 U.S.C. §12101 et. seq. [The
15                                        )             Americans with Disabilities Act];
     vs.                                  )          2. 29 U.S.C. § 794 et seq. [Section 504
16                                        )             of the Rehabilitation Act;
     CITY OF SAN DIEGO, a public entity,; )          3. California Civil Code §54 et seq.
17   and DOES 1-100,                      )             [California Disabled Persons Act];
                                          )          4. California Civil Code §51 et seq. [
18                   Defendants.          )             Unruh Civil Rights Act];
                                          )          5. California Government Code
19                                        )             §4450 et seq.;
                                          )          6. California Government Code
20                                        )             § 11135 et seq.
                                          )
21                                        )          DEMAND FOR JURY TRIAL
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     SECOND AMENDED CLASS ACTION COMPLAINT                   CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1161 Page 2 of 28




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     SECOND AMENDED CLASS ACTION COMPLAINT           CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1162 Page 3 of 28




1                              SECOND AMENDED COMPLAINT
2                                       I. INTRODUCTION
3           1.       This action challenges the failure of the City of San Diego to maintain the
4    accessibility of the City’s system of public sidewalks, curb ramps, crosswalks and
5    transit stops for people with disabilities, in the face of an onslaught of dockless vehicles.
6    Private dockless electric scooter and bike companies have been allowed to appropriate
7    the public commons for their own profit, regardless of the impact on the City’s
8    residents. Persons with mobility impairments, including people who use wheelchairs or
9    walkers, and people with significant visual impairments are thereby being denied their
10   right to travel freely and safely on our public walkways.
11          2.       Without full use of the sidewalk and curb ramps at street intersections,
12   persons with mobility and/or visual impairments have significant barriers in crossing
13   from a pedestrian walkway to a street. This is exacerbated when the sidewalk itself is
14   full of obstructions and no longer able to be fully and freely used by people with
15   disabilities.
16          3.       When dockless vehicles are left in the middle of the sidewalk and other
17   rights of way, at points of ingress and egress, they block off access to the public rights
18   of way; furthermore, as the City of San Diego knows, the dockless vehicle riders often
19   ride the vehicles on the sidewalk, turning the sidewalk into a vehicle highway rather
20   than a space for safe pedestrian access and use.
21          4.       On July 26, 1990, Congress enacted the Americans with Disabilities Act
22   (ADA), ADA §§ 2 et seq. [42 U.S.C.A. §§ 12101 et seq.], establishing the most
23   important civil rights legislation for persons with disabilities in our country’s history,
24   including the right to have full and equal enjoyment of services, programs, or activities
25   of a public entity.
26          5.       Congress explicitly stated that the purpose of the ADA was to provide a
27   clear and comprehensive national mandate for the elimination of discrimination against
28   individuals with disabilities. 42 U.S.C. §12101(b)(1)-(2). Congressional statutory
                                     3
     SECOND AMENDED CLASS ACTION COMPLAINT                      CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1163 Page 4 of 28




1    findings include: “historically, society has tended to isolate and segregate individuals
2    with disabilities, and despite some improvements, such forms of discrimination against
3    individuals with disabilities continue to be a serious and pervasive social problem”;
4    “discrimination against individuals with disabilities persists in such critical areas as
5    employment,      housing,   public    accommodations,       education,    transportation,
6    communication, recreation, institutionalization, health services, voting, and access to
7    public services”; “individuals with disabilities continually encounter various forms of
8    discrimination, including outright intentional exclusion, the discriminatory effects of
9    architectural, transportation, and communication barriers”; and, “the Nation’s proper
10   goals regarding individuals with disabilities are to assure equality of opportunity, full
11   participation, independent living, and economic self-sufficiency for such individuals.”
12   42 U.S.C. § 12101.
13           6.    In the House Report accompanying the ADA, Congress expressly noted
14   that the “employment, transportation, and public accommodation sections of [the ADA]
15   would be meaningless if people who use wheelchairs were not afforded the opportunity
16   to travel on and between the streets.” See H.R. Rep. No. 101-485(II), at 84, reprinted in
17   1990 U.S.C.C.A.N. 303, 367.
18           7.    Congress gave public entities, including state and local governments,
19   eighteen 18 months to implement the ADA. By January 26, 1992, the effective date of
20   the ADA, all public entities had to comply with the statutory and regulatory provisions
21   of the ADA.
22           8.    Nevertheless, instead of complying with the ADA, the City of San Diego
23   has failed to maintain and respect the public sidewalks of the City in a way that allows
24   for disabled residents to enjoy unencumbered access. People with disabilities who wish
25   to travel in the City using the City’s walkways are being forced to either put their
26   physical safety at risk or just stay home. This is not a choice that they should have to
27   make.
28   ///
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     SECOND AMENDED CLASS ACTION COMPLAINT                   CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1164 Page 5 of 28




1          9.      Alex Montoya, Rex Shirley, Philip Pressel, and Wylene Hinkle(“Lead
2    Plaintiffs”), as individuals and on behalf of all other similarly situated (the “Putative
3    Class”) hereby move against the City of San Diego (“Municipal Defendant” or
4    “Defendant”).
5                             II. VENUE AND JURISDICTION
6          10.     The claims alleged herein arise under the Americans with Disabilities Act
7    (42 U.S.C. §§ 12131 et seq.), and Section 504 of the Rehabilitation Act of 1973 (29
8    U.S.C. §794 et seq.), such that the jurisdiction of this Court is invoked pursuant to 28
9    U.S.C. §§ 1331 and 1343. Through the same actions and omissions that form the basis
10   of Plaintiffs’ federal claims, Defendant has also violated Plaintiffs’ rights under state
11   law, over which this Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.
12   This Court has jurisdiction over Plaintiffs’ claims for declaratory and injunctive relief
13   pursuant to 28 U.S.C. §§2201 and 2202 and Rule 65 of the Federal Rules of Civil
14   Procedure.
15         11.     Venue over Plaintiffs’ claims is proper in the Southern District of
16   California because the Municipal Defendant resides in the Southern District of
17   California within the meaning of 28 U.S.C. § 1391, and because the acts, events, and
18   omissions giving rise to Plaintiffs’ claims occurred in the Southern District of
19   California.
20                                       III. PARTIES
21         12.     Alex Montoya is a San Diego, California resident. Alex Montoya is
22   congenital triple amputee - a birth defect rendered Mr. Montoya without arms and one
23   leg since birth, and Mr. Montoya wears prosthetics on both arms and his right leg every
24   day. Mr. Montoya is mobility impaired. He does not drive, and for that reason, chose to
25   live and work in the East Village neighbourhood of San Diego, where he could access
26   several places as a pedestrian. Because of his prosthetics, Mr. Montoya’s reaction time
27   is slower than an average, non-disabled person, and he has more difficulty navigating
28   around obstacles in his path of travel – yet, almost every single day since October of
                                     5
     SECOND AMENDED CLASS ACTION COMPLAINT                   CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1165 Page 6 of 28




1    2018, Mr. Montoya finds his access impeded as dockless electric scooters and bikes
2    diminish available sidewalks for walking and diminish his enjoyment of the sidewalk,
3    as he finds himself dodging dockless vehicles on sidewalks and street crossings, coming
4    from all directions and rapid rates of speed without warning. As a result of the
5    proliferation of dockless vehicles on public sidewalks and the limitation caused by his
6    disability, Mr. Montoya now will avoid walking somewhere if he can, as he does not
7    feel safe walking and has been deterred from accessing from the City’s system of
8    sidewalks. Mr. Montoya, as well as his special-needs brother, have nearly tripped over
9    discarded dockless electric vehicles, as the scooters and bikes are strewn all over the
10   sidewalks. Plaintiff Montoya is a “qualified person with a disability” and/or a person
11   with a “disability” within the meaning of all applicable statutes and regulations
12   including 42 U.S.C. § 12131(2), 28 C.F.R. § 35.104; 28 C.F.R. § 36.104; 29 U.S.C. §
13   705(2)(B), and California Government Code § 12926.
14         13.    Rex Shirley is a San Diego, California resident, in the neighbourhood of
15   Mission Beach. Rex Shirley has been diagnosed with Parkinson’s disease, which has
16   progressively advanced over several years. Mr. Shirley requires the use of a mobility
17   scooter for his transportation. In October of 2018, Mr. Shirley was nearly hit by an
18   electric scooter on the Mission Beach Boardwalk. Since approximately October of
19   2018, Mr. Shirley has found dockless electric bikes and scooters blocking his access to
20   the sidewalks of Mission Beach on a nearly continuous basis and has often been unable
21   to maneuver his mobility scooter around the obstacles in his path. Mr. Shirley has seen
22   dockless electric scooters left on their sides on the alleys and streets of Mission Beach,
23   near his home, and those scooters block access and impede Mr. Shirley’s ability to
24   safely travel the streets and sidewalks of Mission Beach. Mr. Shirley has to drive his
25   mobility scooter around the dockless electric vehicles to get places, and is often unable
26   to do so. Mr. Shirley fears further close encounters with the dockless vehicles, and
27   cannot use the sidewalks and public rights of way as he would please because of blocked
28   access and the inability to avoid electric vehicles that, due to his Parkinson’s disease,
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     SECOND AMENDED CLASS ACTION COMPLAINT                    CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1166 Page 7 of 28




1    he cannot hear coming or easily evade. As a result of these issues created by dockless
2    vehicles, Mr. Shirley goes out less as he is deterred from utilizing the system of
3    sidewalks, avoids the Mission Beach Boardwalk and strand areas near where he lives,
4    and finds his local travel impeded when he does go out. For the same reasons, Mr.
5    Shirley also finds it difficult to utilize the public rights of way to walk his dog. Mr.
6    Shirley is a “qualified person with a disability” and/or a person with a “disability”
7    within the meaning of all applicable federal and state statutes and regulations including
8    42 U.S.C. § 12131(2), 28 C.F.R. § 35.104; 28 C.F.R. § 36.104; 29 U.S.C. § 705(2)(B),
9    and California Government Code § 12926.
10         14.    Philip Pressel is a San Diego, California resident, living in downtown San
11   Diego. Mr. Pressel has lost the use of his left leg and is an amputee. Mr. Pressel has also
12   undergone two back surgeries and has severe lower back pain. Mr. Pressel now requires
13   the use of an electric mobility scooter unless walking very short distances, usually no
14   more than one block or so. Mr. Pressel is also immune-suppressed because of an organ
15   transplant. Mr. Pressel chose to live in downtown because of the ability to easily access
16   numerous places. Since approximately October of 2018, Mr. Pressel has encountered
17   dockless electric scooters and bikes on sidewalks and near or in curb cuts which, due to
18   his disability, he is unable to safely navigate around without assistance. Mr. Pressel’s
19   wife has had to move dockless scooters and bikes out of the way for Mr. Pressel to
20   access the pedestrian walkways, and Mr. Pressel has been deterred from utilizing the
21   system of sidewalks both independently and with other people. Mr. Pressel has had
22   numerous occasions where he could not see a discarded dockless scooter laying on the
23   ground, and has nearly collided with those grounded scooters. Plaintiff Pressel is a
24   “qualified person with a disability” and/or a person with a “disability” within the
25   meaning of all applicable federal and state statutes and regulations including 42 U.S.C.
26   § 12131(2), 28 C.F.R. § 35.104; 28 C.F.R. § 36.104; 29 U.S.C. § 705(2)(B), and
27   California Government Code § 12926.
28   ///
                                     7
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1167 Page 8 of 28




1          15.      Wylene Hinkle is a resident of the City of San Diego, living in downtown
2    San Diego. Ms. Hinkle is a person who is blind, and has been her entire life. She uses
3    hearing aids and has Psoriatic Arthritis, which makes it difficult for her to walk or stand
4    for long periods of time. Because she cannot see, it is impossible for her to safely avoid
5    dockless vehicles, whether they are being driven on the sidewalk or left strewn across
6    her path of travel. Ms. Hinkle has had two incidents, in September of 2018 and
7    September of 2019, where she was hit by a scooter while walking downtown near her
8    home, causing her to sustain minor injuries. In addition, since October of 2018, Ms.
9    Hinkle’s access to crosswalks in the City has been impeded as scooters discarded and
10   left leaning against traffic light poles block access to the buttons which trigger the
11   audible signals which tell Ms. Hinkle whether it is safe to cross. Ms. Hinkle does not
12   drive, and as a result of this impeded access, has been forced to use the public rights of
13   way less often. Plaintiff Hinkle is a “qualified person with a disability” and/or a person
14   with a “disability” within the meaning of all applicable federal and state statutes and
15   regulations including 42 U.S.C. § 12131(2), 28 C.F.R. § 35.104; 28 C.F.R. § 36.104;
16   29 U.S.C. § 705(2)(B), and California Government Code § 12926.
17         16.      The putative class consists of all residents of the City of San Diego with
18   mobility and/or visual impairments. The class shall be divided into two subclasses:
19               a. Residents of the City of San Diego with mobility impairments (the
20                  “Mobility Impairment Subclass”); and,
21               b. Residents of the City of San Diego with visual impairments (the “Visual
22                  Impairment Subclass”).
23         17.      Hereafter, references to Plaintiffs shall be deemed to include Lead
24   Plaintiffs and each member of the Putative Class, unless otherwise indicated.
25         18.      Defendant City of San Diego is a public entity within the meaning of Title
26   II of the Americans with Disabilities Act (the “ADA”) and on information and belief,
27   has received federal financial assistance within the meaning of Section 504 of the
28   Rehabilitation Act, 29 U.S.C. §794, et seq. (the “Rehabilitation Act”) and state financial
                                     8
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1168 Page 9 of 28




1    assistance within the meaning of Government Code 11135. Defendant City of San
2    Diego has received federal and state financial assistance sufficient to invoke the
3    coverage of Section 504 of the Rehabilitation Act and California Government Code
4    Section 11135.
5           19.      Defendant City of San Diego is a local government entity with the
6    responsibility of providing Plaintiffs access to its public facilities, programs, services
7    and activities. Defendant City of San Diego is responsible for maintaining the system
8    of sidewalks, crosswalks, transit stops, curb ramps, pedestrian crossings and other
9    walkways within the City of San Diego.
10                              IV. FACTUAL ALLEGATIONS
11          20.      The City of San Diego has failed to adequately maintain the system of
12   sidewalks, crosswalks, curb ramps, transit stops, pedestrian crossings and other
13   walkways, by allowing dockless vehicles to proliferate unchecked throughout San
14   Diego and to block safe and equal access for people with disabilities who reside in the
15   City. Defendant City of San Diego has thereby denied Plaintiffs the benefits of the
16   City’s services, programs, and activities based on their disabilities.
17          21.      Dockless vehicle companies have used and appropriated varying portions
18   of the City’s public sidewalks, crosswalks, transit stops, curb ramps, pedestrian
19   crossings and walkways with impunity for their own private profit – effectively turning
20   them into their private retail stores, showrooms, highways, and storage facilities - in
21   abject disregard for the safety and access rights of San Diego’s residents with
22   disabilities.
23          22.      Dockless scooters and bikes present obstacles and block full access and
24   use of the sidewalk when left on the ground. Across the City of San Diego, idle dockless
25   vehicles clog the system of sidewalks, crosswalks, curb ramps, transit stops, pedestrian
26   crossings and other walkways.
27          23.      Perhaps even more dangerous, dockless vehicles may be driven at speeds
28   much faster than the speed of foot traffic through the system of sidewalks, crosswalks,
                                     9
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1169 Page 10 of 28




 1   curb ramps, transit stops, pedestrian crossings and other walkways, despite the
 2   California Vehicle Code’s prohibition against operation of a motorized vehicle upon
 3   the sidewalks. Effectively, the practice turns the systems of sidewalks into a dockless
 4   vehicle highway.
 5         24.    Once a dockless vehicle rider is done using the dockless vehicle, the
 6   dockless vehicle rider can leave the dockless vehicles where the user may see fit, as part
 7   of the “dockless” business model – typically, idle dockless vehicles end up on public
 8   property in the system of sidewalks, crosswalks, transit stops, curb ramps, pedestrian
 9   crossings and other walkways, either on the ground, parked upright, or left resting
10   sideways blocking portions of the systems of sidewalks and rights of way. Groups of
11   dockless vehicles may be discarded in close proximity, causing a blockade and
12   diminishing full use of the sidewalks for pedestrians.
13         25.    37. This “dockless” practice violates San Diego Municipal Code
14   §129.0702(a)(2), which requires a Public Right-of-Way Permit for the construction of
15   “privately owned structures, facilities, or improvements in the public right-of-way or in
16   a public service easement.”
17         26.     This “dockless” practice also violates San Diego Municipal Code
18   §54.0110, which states: “It is unlawful for any person to erect, place, allow to remain,
19   construct, establish, plant, or maintain any vegetation or object on any public street,
20   alley, sidewalk, highway, or other public property or public right-of-way, except as
21   otherwise provided by this Code.” Yet, the City, while vigorously enforcing this
22   provision against homeless individuals - citing and arresting them for placing sleeping
23   bags, shopping carts and other personal belongings on the ground – has intentionally,
24   recklessly, or thoughtlessly overlooked the impact of dockless vehicles and their severe
25   negative impact on disability access.
26         27.    To continue appropriating and re-purposing the City of San Diego’s
27   sidewalks, crosswalks, transit stops, curb ramps, pedestrian crossings, dockless vehicle
28   companies hire independent contractors to tend to stage, recover, and return the
                                     10
     SECOND AMENDED CLASS ACTION COMPLAINT                    CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1170 Page 11 of 28




 1   dockless vehicles to the system of public sidewalks, crosswalks, transit stops, curb
 2   ramps, pedestrian crossings and other walkways.
 3         28.    Dockless vehicles cause barriers in paths of travel when they are operated.
 4   Dockless vehicles are operated on the system of sidewalks, crosswalks, transit stops,
 5   curb ramps, pedestrian crossings and other walkways. The dockless scooters are motor
 6   powered via an electric battery, propelling them at speeds around twenty (20) miles per
 7   hour, or more. Dockless bikes are also motor powered via an electric battery, propelling
 8   them at speeds around fifteen (15) miles per hour, or more. No training or education is
 9   required for people to ride dockless vehicles. The combination of high relative speeds,
10   compared to pedestrians, and lack of restrictions regarding the operator, creates
11   hazardous conditions which causes Lead Plaintiffs, and others in the Putative Class,
12   difficulty, frustration, and risk of serious physical harm. Lead Plaintiffs, should they
13   wager trying to access the benefits of the system of sidewalks, crosswalks, transit stops,
14   curb ramps, pedestrian crossings and other walkways, do so in a state of hypervigilance
15   and stress as the concern of being struck and possibly injured by a wayward dockless
16   vehicle persists, and Lead Plaintiffs do not know whether, due to their disabilities, they
17   will be unable to safelty navigate the obstacles caused by the dockless vehicle in their
18   path and therefore be unable to access the sidewalks on an independent basis.
19         29.    Dockless vehicles hinder and inhibit Plaintiffs from using the system of
20   sidewalks, crosswalks, transit stops, curb ramps, pedestrian crossings and other
21   walkways due to their disabilities, and have actually caused Plaintiffs to use the
22   sidewalks less often. As in-use dockless scooters and bikes speed by and deny safe,
23   equal and full access to the sidewalks, and as idle dockless vehicles occupy, partition,
24   and block the sidewalks and other pedestrian rights of way, the sidewalk has become
25   inaccessible, dangerous, and much more difficult to trust as a walkway for people with
26   mobility or visual impairments. As a result of the difficulty and frustration with the
27   experience of attempting to use the sidewalks and other pedestrian rights of way and
28   fear of injury, Plaintiffs are disheartened and deterred from using the system of
                                     11
     SECOND AMENDED CLASS ACTION COMPLAINT                    CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1171 Page 12 of 28




 1   sidewalks, crosswalks, transit stops, curb ramps, pedestrian crossings and other
 2   walkways.
 3          30.    The burgeoning proliferation and uncurbed growth of dockless vehicles
 4   comes at the detriment of the rights of all disabled persons with mobility and/or visual
 5   impairments who are residents of the City of San Diego, causing Plaintiffs injury and
 6   severe anxiety, diminishing their comfort and discriminating against them based on
 7   their disabilities by denying them access to and safe use of public walkways and other
 8   essential public services, resulting in isolation in their homes and deterioration in
 9   Plaintiffs’ quality of life.
10          31.    The Municipal Defendant is responsible for maintaining the system of
11   sidewalks, crosswalks, transit stops, curb ramps, pedestrian crossings and other
12   walkways, which constitute an essential government program, service, and activity for
13   residents and visitors of the City of San Diego.
14          32.    The    Municipal Defendant       is   responsible   for providing public
15   transportation for the residents and visitors to the City of San Diego, which constitutes
16   an essential government program, service and activity for residents and visitors of the
17   City of San Diego.
18          33.    The Municipal Defendant has further failed to maintain the system of
19   sidewalks and rights of way in a fashion that ensures that meaningful access is not only
20   assured to all residents with disabilities, but also that allows residents with disabilities
21   to enjoy the full and equal benefit of the sidewalks and pedestrian rights of way.
22   Notably, the City of San Diego has failed to develop an adequate number of alternative
23   lanes that are not on the sidewalk (i.e., bike lanes) that might provide for a lawful and
24   proper use of dockless vehicles.
25          34.    The combination of the City of San Diego’s thoughtlessness, indifference,
26   and failure to maintain the system of sidewalks, crosswalks, transit stops, curb ramps,
27   pedestrian crossings and other walkways in compliance with the needs of disabled
28   individuals results in Plaintiffs suffering disproportionate harm based on their
                                     12
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1172 Page 13 of 28




 1   disabilities. The City of San Diego’s system of sidewalks, crosswalks, transit stops, curb
 2   ramps, pedestrian crossings and other walkways is no longer readily accessible to and
 3   usable by persons with mobility and/or visual disabilities due to the pervasive and ever-
 4   growing presence of dockless vehicles that create physical access barriers along the path
 5   of travel on the City’s public walkways.
 6         35.    Lead Plaintiffs and other persons with mobility or visual impairments must
 7   roll the dice every time they choose to use the system of sidewalks and other pedestrian
 8   rights of way, as they gamble as to whether the system of sidewalks, crosswalks, transit
 9   stops, curb ramps, pedestrian crossings and other walkways might be unfettered or
10   instead that Plaintiffs might be blocked or themselves placed in danger by encountering
11   dockless vehicles strewn along their path that, due to their disabilities, they cannot
12   reasonably circumvent or avoid. These obstructions deny people with disabilities equal
13   access to the City of San Diego’s system of sidewalks, crosswalks, transit stops, curb
14   ramps, pedestrian crossings and other walkways and strip them of their freedom and
15   their right to safely use the public sidewalk in the same fashion and with the same
16   benefit as enjoyed by those without disabilities.
17         36.    Lead Plaintiffs and class members have mobility and/or visual
18   impairments. Lead Plaintiffs and class members have encountered dockless vehicles
19   strewn across, blocking, and/or being driven upon the system of public sidewalks,
20   crosswalks, transit stops, curb ramps, pedestrian crossings and other walkways in the
21   City of San Diego, denying them full and equal access based on disability, and causing
22   Plaintiffs difficulty, frustration and embarrassment, and placing them in danger of
23   injury or death. Plaintiffs continue to be deterred from leaving their homes and their
24   places of business since the invasion of these dockless vehicles onto the streets of the
25   City of San Diego.
26         37.     The maintenance of an accessible system of sidewalks, crosswalks, transit
27   stops, curb ramps, pedestrian crossings and other walkways for people with disabilities
28   go to the heart of the purpose of the ADA and other disability rights laws, and is
                                     13
     SECOND AMENDED CLASS ACTION COMPLAINT                    CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1173 Page 14 of 28




 1   essential for full integration of people with disabilities into the community. The
 2   Municipal Defendant’s failure to ensure that the system of public walkways is kept
 3   accessible to persons with mobility or visual impairments free of dockless vehicle
 4   obstructions causes disproportionate harm to people with disabilities and thereby
 5   discriminates based on disability in violation of multiple federal and state disability
 6   rights laws. This lawsuit seeks to ensure fair, full, and equal access to the system of
 7   sidewalks, crosswalks, transit stops, curb ramps, pedestrian crossings and other
 8   walkways for all residents with disabilities in the City of San Diego.
 9         38.      Plaintiffs thus bring this action to, among other things, remedy violations
10   of Title II of the ADA, 42 U.S.C. §12131, et seq., and its accompanying regulations,;
11   and, Section 504 of the Rehabilitation Act and its accompanying regulations, as well as
12   analogous state statutes including California Government Code §11135, California
13   Civil Code §54, et seq., California Government Code §4450, and California Civil Code
14   §51, et seq. Plaintiffs seek declaratory and injunctive relief pursuant to the above, as
15   well as an award of attorneys’ fees and costs under applicable law. Plaintiffs also seek
16   statutory minimum penalties under California law – Plaintiffs do not seek actual
17   damages in this class action.
18                           V. CLASS ACTION ALLEGATIONS
19         39.      The Lead Plaintiffs bring this action individually, and on behalf of all
20   residents of the City of San Diego with mobility or visual impairments. The class shall
21   be divided into two subclasses:
22               a. Residents of the City of San Diego with mobility impairments (the
23                  “Mobility Impairment Subclass”); and,
24               b. Residents of the City of San Diego with visual impairments (the “Visual
25                  Impairment Subclass”).
26         40.      Each member of the Putative Class is a “qualified person with a disability”
27   and/or a person with a “disability” within the meaning of all applicable federal and state
28   statutes and regulations including 42 U.S.C. § 12131(2), 28 C.F.R. § 35.104; 28 C.F.R.
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     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1174 Page 15 of 28




 1   § 36.104; 29 U.S.C. § 705(2)(B), and California Government Code § 12926. The
 2   persons in the Putative Class are so numerous that the joinder of all such persons is
 3   impracticable and that the disposition of their claims in a class action rather than in
 4   individual actions will benefit the parties and the Court. The Putative Class consists of
 5   tens of thousands of persons with disabilities of mobility or visual impairment that
 6   reside in the City of San Diego.
 7          41.    Lead Plaintiffs are informed, believe, and thereon allege that the
 8   Defendant’s policies and procedures violate the ADA, the Rehabilitation Act, and
 9   analogous state statutes with regard to the system of sidewalks, crosswalks, curb ramps,
10   pedestrian crossings and other walkways and disability access.
11          42.    Lead Plaintiffs are informed, believe, and thereon allege that Defendant
12   has not adopted and does not enforce appropriate policies to prevent discrimination
13   against persons with disabilities and to ensure equal access to programs, services and
14   activities for persons with disabilities.
15          43.    The violations of the ADA, the Rehabilitation Act and related California
16   statutes set forth in detail above, have injured all members of the Putative Class,
17   violating their rights.
18          44.    Defendant acted or refused to act on grounds generally applicable to the
19   Putative Class, thereby making appropriate final injunctive or declaratory relief with
20   respect to the class as a whole appropriate.
21          45.    The claims of the Lead Plaintiffs are typical of the Putative Class that they
22   arise from the same course of conduct engaged in by Defendant. The relief sought herein
23   will benefit all class members alike.
24          46.    Lead Plaintiffs will fairly and adequately represent the interests of the
25   class. Lead Plaintiffs have no interests adverse to the interests of other members of the
26   class and have retained counsel that is competent and experienced in litigation complex
27   class actions, including disability rights cases.
28   ///
                                     15
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1175 Page 16 of 28




 1         47.    With regard to the Putative Class, the requirements of Rule 23 of the
 2   Federal Rules of Civil Procedure are satisfied as such:
 3                a.    The class is so numerous that it would be impractical to bring all
 4                      class members before the Court;
 5                b.    There are questions of law and fact which are common to the class;
 6                c.    The Lead Plaintiffs’ claims are typical of the claims of the class;
 7                d.    The Lead Plaintiffs will fairly and adequately represent common
 8                      class interests and are represented by counsel who are experienced
 9                      in class actions and the disability rights issues in this case.
10                e.    Defendant has acted or generally refused to act on grounds generally
11                      applicable to the class; and,
12                f.    The common questions of law and fact which are common to the
13                      class predominate over individual questions.
14         48.    The common questions of law and fact, shared by all class members,
15   include:
16                a.    Whether the Municipal Defendant is violating Title II of the ADA,
17                      42 U.S.C. § 12131 et seq., by depriving persons with disabilities
18                      access to programs, services and activities of the City of San Diego,
19                      and otherwise discriminating against persons with disabilities, as set
20                      forth above;
21                b.    Whether the Municipal Defendant is violating Section 504 of the
22                      Rehabilitation Act, 29 U.S.C. § 794 et seq., by depriving persons
23                      with disabilities access to programs, services and activities of the
24                      City of San Diego, and otherwise discriminating against persons
25                      with disabilities, as set forth above;
26                c.    Whether the Defendant is violating California Government Code
27                      Section 11135(a), which prohibits denial of benefits to persons with
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                                     16
     SECOND AMENDED CLASS ACTION COMPLAINT                       CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1176 Page 17 of 28




 1                       disabilities of any program or activity that is funded directly by the
 2                       state or receives any financial assistance from the state;
 3                d.     Whether the Defendant is violating California Civil Code §54 et
 4                       seq., by depriving persons with disabilities full and equal access;
 5                e.     Whether the Defendant is violating California Government Code
 6         §4450; and,
 7                f.     Whether the Defendant is violating California Civil Code §51 et seq.
 8                             VI. FIRST CAUSE OF ACTION
 9                       The Americans with Disabilities Act – Title II
10         49.    Plaintiffs incorporate by reference each and every allegation contained in
11   the foregoing paragraphs.
12         50.    Congress enacted the ADA upon finding, among other things, that “society
13   has tended to isolate and segregate individuals with disabilities” and that such forms of
14   discrimination continue to be a “serious and pervasive social problem.” 42 U.S.C. §
15   12101 (a)(2).
16         51.    In response to these findings, Congress explicitly stated that the purpose
17   of the ADA is to provide “a clear and comprehensive national mandate for the
18   elimination of discrimination against individuals with disabilities” and “clear, strong,
19   consistent, enforceable standards addressing discrimination against individuals with
20   disabilities.” 42 U.S.C. §12101(b)(1)-(2).
21         52.    Title II of the ADA provides in relevant part: “[N]o qualified individual
22   with a disability shall, by reason of such disability, be excluded from participation in or
23   be denied the benefits of the services, programs, or activities of a public entity, or be
24   subjected to discrimination by any such entity.” 42 U.S.C. § 12132.
25         53.    At all times relevant to this action, the Municipal Defendant was a “public
26   entity” within the meaning of Title II of the ADA and provided and provides a program,
27   service or activity to the general public.
28         54.    At all times relevant to this action, Plaintiffs were qualified individuals
                                     17
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1177 Page 18 of 28




 1   with disabilities within the meaning of Title II of the ADA and met the essential
 2   eligibility requirements for the receipt of the services, programs, or activities of the City
 3   of San Diego. 42 U.S.C §12131.
 4          55.    Municipal Defendant is mandated to operate each program, service, or
 5   activity “so that, when, viewed in its entirety, it is readily accessible to and useable by
 6   individuals with disabilities.” 28 C.F.R. § 35.150; see also 28 C.F.R. §§ 35.149 &
 7   35.151. The system of sidewalks, crosswalks, transit stops, curb ramps, pedestrian
 8   crossings and other walkways themselves constitute an essential public service,
 9   program, or activity under Title II of the ADA. 28 C.F.R. § 35.104; see Barden v. City
10   of Sacramento, 292 F.3d 1073 (2002).
11          56.   The regulations implementing Title II of the ADA provide that a public
12   entity must maintain the features of all facilities required to be accessible by the ADA.
13   28 C.F.R. § 35.133. Facilities required to be accessible include roads, walks and
14   passageways. 28 C.F.R. § 1035.104.
15          57.   Plaintiffs are informed, believe and thereon allege that the system of
16   sidewalks, crosswalks, transit stops, curb ramps, pedestrian crossings and other
17   walkways are not fully, equally and safely accessible to Plaintiffs when viewed in their
18   entirety.
19          58.     Plaintiffs are informed, believe and thereon allege that the Municipal
20   Defendant violated and continues to violate the ADA by failing to ensure that the system
21   of sidewalks, crosswalks, transit stops, curb ramps, pedestrian crossings and other
22   walkways are kept free of the dockless vehicle obstructions and thereby the City of San
23   Diego denies Plaintiffs the benefits of the system of sidewalks, crosswalks, transit stops,
24   curb ramps, pedestrian crossings and other walkways, due to their disabilities.
25          59.    Plaintiffs are informed, believe and thereon allege that the Municipal
26   Defendant failed and continues to fail to adopt, implement or enforce ordinances or
27   other regulations necessary to ensure that the system of sidewalks, crosswalks, transit
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                                     18
     SECOND AMENDED CLASS ACTION COMPLAINT                      CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1178 Page 19 of 28




 1   stops, curb ramps, pedestrian crossings and other walkways are kept free of the dockless
 2   vehicle obstructions.
 3         60.     Plaintiffs are informed, believe and thereon allege that the Municipal
 4   Defendant and their agents and employees have and continue to violate the ADA by
 5   failing to timely respond to and remedy complaints about the said barriers through their
 6   policies and practices with regard the system of sidewalks, crosswalks, transit stops,
 7   curb ramps, pedestrian crossings and other walkways thereby denying disability access.
 8         61.     Plaintiffs are informed, believe and thereon allege that the Municipal
 9   Defendant committed the acts and omissions alleged herein with intent and/or reckless
10   disregard, thoughtlessness and indifference to Plaintiffs’ rights.
11         62.    As a direct and proximate result of the aforementioned acts, Plaintiffs have
12   suffered, and continue to suffer humiliation, hardship and anxiety, due to Defendant’s
13   failure to address accommodations, modifications, services and access required for
14   Plaintiffs’ disabilities. Plaintiffs have been deterred from utilizing the system of
15   sidewalks and pedestrian rights of way, and have been stripped of their independence.
16         63.    Municipal Defendant’s discriminatory conduct is ongoing, and causing
17   continuing harm, including deterrence and stripping Plaintiffs of their independence.
18   Plaintiffs have no adequate remedy at law and are therefore entitled to declaratory and
19   injunctive relief pursuant to 42 U.S.C. § 12133.
20         64.    Plaintiffs are further entitled to reasonable attorneys’ fees and costs
21   incurred in bringing this action.
22                           VII. SECOND CAUSE OF ACTION
23                                  (The Rehabilitation Act)
24         65.    Plaintiffs incorporate by reference each and every allegation contained in
25   the foregoing paragraphs.
26         66.    Section 504 of the Rehabilitation Act of 1973 provides in relevant part:
27   “[N]o otherwise qualified person with a disability…shall, solely by reason of her or his
28   disability, be excluded from the participation in, be denied the benefits of, or be
                                     19
     SECOND AMENDED CLASS ACTION COMPLAINT                    CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1179 Page 20 of 28




 1   subjected to discrimination under any program or activity receiving federal financial
 2   assistance…” 29 U.S.C. § 794.
 3          67.    Plaintiffs are otherwise qualified to participate in the services, programs,
 4   or activities that are provided to individuals in the City of San Diego. See 29 U.S.C. §
 5   794(b).
 6          68.    The Municipal Defendant is a direct recipient of federal financial
 7   assistance sufficient to invoke the coverage of Section 504 of the Rehabilitation Act and
 8   have received such federal assistance at all times relevant to the claims asserted in this
 9   Complaint.
10          69.    Plaintiffs are informed, believe and thereon allege that the Municipal
11   Defendant and their agents and employees have violated and continue to violate the
12   Rehabilitation Act and the regulations promulgated thereunder by excluding Plaintiffs
13   from participation in, denying Plaintiffs the benefits of, and subjecting Plaintiffs to
14   discrimination in the benefits and services of the system of sidewalks, crosswalks,
15   transit stops, curb ramps, pedestrian crossings and other walkways for the reasons set
16   forth above, based solely by reason of their disabilities.
17          70.    Plaintiffs are informed, believe and thereon alleges that the Municipal
18   Defendant committed the acts and omissions alleged herein with intent and/or reckless
19   disregard of Plaintiffs’ rights.
20          71.    As a direct and proximate result of the aforementioned acts, Plaintiffs have
21   suffered, and continue to suffer humiliation, hardship and anxiety, due to the Municipal
22   Defendant’s failure to address accommodations, modifications, services and access
23   required for Plaintiffs’ disabilities.
24          72.    Municipal Defendant’s discriminatory conduct is ongoing. Plaintiffs have
25   no adequate remedy at law and are entitled to declaratory and injunctive relief set forth
26   in 29 U.S.C. §794(a) and the Civil Rights Act of 1964, 42 U.S.C. 2000d-7(2).
27          73.    Plaintiffs are also entitled to reasonable attorneys’ fees and costs incurred
28   in bringing this action.
                                     20
     SECOND AMENDED CLASS ACTION COMPLAINT                        CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1180 Page 21 of 28




 1                             VIII. THIRD CAUSE OF ACTION
 2                             (California Government Code §4450)
 3          74.     Plaintiffs incorporate by reference each and every allegation contained in
 4   the foregoing paragraphs.
 5          75.     The system of sidewalks, crosswalks, transit stops, curb ramps, pedestrian
 6   crossings and other walkways are publicly funded and intended for use by the public
 7   within the meaning of California Government Code § 4450, et seq.
 8          76.     Plaintiffs are informed, believe and thereon alleges that the Municipal
 9   Defendant and its agents and employees have and continue to violate California
10   Government Code § 4450 et seq. and regulations implemented pursuant thereto by
11   operating the system of sidewalks, crosswalks, curb ramps, pedestrian crossings and
12   other walkways in violation of disability access requirements, for the reasons set forth
13   above.
14          77.     The aforementioned acts and omissions of the Municipal Defendant
15   constitute denial of equal access to and use of the system of sidewalks, crosswalks,
16   transit stops, curb ramps, pedestrian crossings and other walkways and caused Plaintiffs
17   to suffer deprivation of their civil rights.
18          78.     As a direct and proximate result of the aforementioned acts, Plaintiffs have
19   suffered, and continue to suffer, humiliation, hardship and anxiety, due to the Municipal
20   Defendant’s failure to address accommodations, modifications, services and access
21   required for Plaintiffs’ disabilities.
22          79.     The Municipal Defendant’s discriminatory conduct is ongoing. There is no
23   adequate remedy at law, and Plaintiffs are entitled to declaratory and injunctive relief.
24          80.     Plaintiffs are also entitled to reasonable attorneys’ fees and costs in filing
25   this action.
26                             IX. FOURTH CAUSE OF ACTION
27                            (California Government Code §11135)
28
                                     21
     SECOND AMENDED CLASS ACTION COMPLAINT                      CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1181 Page 22 of 28




 1             81.   Plaintiffs incorporate by reference each and every allegation contained in
 2   the foregoing paragraphs.
 3             82.   Section 11135(a) of California Government Code provides in relevant part:
 4   “[N]o person in the State of California shall, on the basis of…disability, be unlawfully
 5   denied the benefits of, or be unlawfully subjected to discrimination under, any program
 6   or activity that is conducted, operated, or administered by the state or by any state
 7   agency, is funded directly by the state, or receives any financial assistance from the
 8   state.”
 9             83.   The Municipal Defendant is funded directly by the State of California and
10   receives financial assistance from the State of California sufficient to invoke the
11   coverage of Government Code Sections 11135, et seq. The Municipal Defendant was
12   and is the recipient of such funding and financial assistance at all times relevant to the
13   claims asserted in this Complaint.
14             84.   Section 11150 of the California Code of Regulations defines a “program
15   or activity” as “any project, action or procedure undertaken directly by recipients of
16   State support or indirectly by recipients through others by contracts, arrangements or
17   agreements, with respect to the public generally or with respect to any private or public
18   entity.”
19             85.   Section 11150 of the California Code of Regulations defines “[s]tate
20   financial assistance” as “any grant, entitlement, loan, cooperative agreement, contract
21   or any other arrangement by which a State agency provides or otherwise makes
22   available aid to recipients in the form of… (3) real or personal property or any interest
23   in or use of such property, including: (A) transfers or leases of property for less than
24   fair market value or for reduced consideration…”
25             86.   Section 11150 of the California Code of Regulations defines “[r]ecipient”
26   as any “person, who…receives State support…in an amount in excess of $10,000 in the
27   aggregate per State fiscal year…by grant, contract or otherwise, directly or through
28   another recipient…”.
                                     22
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1182 Page 23 of 28




 1          87.     The Municipal Defendant is a direct recipient of state financial assistance.
 2          88.     Plaintiffs are informed, believe and thereon allege that Defendants and
 3   their agents and employees have and continue to violate California Government Code
 4   §11135 by unlawfully denying Plaintiffs the benefits of the system of sidewalks,
 5   crosswalks, curb ramps, transit stops, pedestrian crossings and other walkways, and
 6   unlawfully subjecting Plaintiffs to discrimination regarding the Municipal Defendant’s
 7   programs and activities, for the reasons set forth above.
 8          89.     Defendant has refused and failed to provide Plaintiffs with full and equal
 9   access to their facilities, programs, services and activities as required by California
10   Government Code Sections 11135, et seq. through their policies and practices with
11   regard to the system of sidewalks, crosswalks, curb ramps, transit stops, pedestrian
12   crossings and other walkways that fail to maintain and/or that obstruct the system’s
13   accessibility for people with disabilities.
14          90.     As a direct and proximate result of the aforementioned acts, Plaintiffs have
15   suffered, and continue to suffer humiliation, hardship and anxiety, due to Defendant’s
16   failure to address accommodations, modifications, services and access required for
17   Plaintiffs’ disabilities.
18          91.     Defendant’s discriminatory conduct is ongoing. There is no adequate
19   remedy at law, and Plaintiffs are entitled to declaratory and injunctive relief.
20          92.     Plaintiffs are also entitled to reasonable attorneys’ fees and costs in filing
21   this action.
22                               X. FIFTH CAUSE OF ACTION
23                               California Civil Code § 54 et seq.
24          93.     Plaintiffs incorporate by reference each and every allegation contained in
25   the foregoing paragraphs.
26          94.     California Civil Code § 54(a) provides that “[i]ndividuals with disabilities
27   or medical conditions have the same right as the general public to the full and free use
28   of …sidewalks, walkways… and other public places.”
                                     23
     SECOND AMENDED CLASS ACTION COMPLAINT                       CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1183 Page 24 of 28




 1          95.    Plaintiffs are persons with disabilities within the meaning of California
 2   Civil Code § 54(b)(1) and California Government Code § 12926.
 3          96.    California Civil Code Section 54.3 provides that “[a]ny person or persons,
 4   firm or corporation who denies or interferes with admittance to or enjoyment of the
 5   public facilities as specified in Sections 54 and 54.1 or otherwise interferes with the
 6   rights of an individual with a disability under Sections 54, 54.1 and 54.2 is liable for
 7   each offense for the actual damages and any amount as may be determined by a jury, or
 8   the court sitting without a jury, up to a maximum of three times the amount of actual
 9   damages but in no case less than one thousand dollars ($1,000), and attorney’s fees as
10   may be determined by the court in addition thereto, suffered by any person denied any
11   of the rights provided in Sections 54, 54.1, and 54.2.”
12          97.    The City of San Diego has deprived Plaintiffs of their right to have full and
13   free use of sidewalks, walkways, transit stops, and other public places, and therefore
14   violated California Civil Code § 54.
15          98.    For all the reasons outlined above, Defendant violated the rights of
16   Plaintiffs under California Civil Code § 54.
17          99.    As a direct and proximate result of the aforementioned acts, Plaintiffs have
18   suffered, and continue to suffer, humiliation, hardship and anxiety, due to Defendant’s
19   failure to address accommodations, modifications, services and access required for
20   Plaintiffs’ disabilities.
21          100. Because Defendant’s discriminatory conduct is ongoing, declaratory and
22   injunctive relief are appropriate remedies.
23          101. Plaintiffs are entitled to reasonable attorneys’ fees and costs in filing this
24   action.
25          102. Plaintiffs seek an award of statutory damages of at least $1,000 per
26   violation, available as the statutory minimum penalty for each violation of Plaintiffs’
27   rights under California Civil Code § 54.3.
28   ///
                                     24
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1184 Page 25 of 28




 1                             XI. SIXTH CAUSE OF ACTION
 2                    (California Civil Code §51 et seq.)(The Unruh Act)
 3           103. Plaintiffs incorporate by reference each and every allegation contained in
 4   the foregoing paragraphs.
 5           104. California Civil Code § 51(b) (the Unruh Civil Rights Act) provides that
 6   “All persons within the jurisdiction of this state are free and equal, and no matter what
 7   their sex, race, color, religion, ancestry, national origin, disability, medical condition,
 8   genetic information, marital status, sexual orientation, citizenship, primary language, or
 9   immigration status are entitled to the full and equal accommodations, advantages,
10   facilities, privileges, or services in all business establishments of every kind
11   whatsoever”.
12           105. The Unruh Civil Rights Act prohibits discrimination on the basis of
13   disability in the full and equal access to the services, facilities, and advantages of a
14   business establishment. The term “business establishment” has been interpreted in the
15   broadest sense reasonably possible, to include public entities such as schools, see
16   Gibson v. County of Riverside, 181 F. Supp. 2d 1057 (2002), and entities whose
17   activities demonstrate that it is the functional equivalent of a classical place of public
18   accommodation or amusement, see Stevens v. Optimum Health Institute, San Diego,
19   810 F. Supp. 2d 1074 (2011).
20           106. A violation of the right of any individual under the ADA is also a violation
21   of the Unruh Act. California Civil Code § 51(f).
22           107. Defendant City of San Diego’s system of public sidewalks, crosswalks,
23   transit stops, curb ramps, pedestrian crossings and other walkways is a “business
24   establishment” operated by the City as defined by the Unruh Act, California Civil Code
25   § 51.
26           108. Defendant has denied full and equal accommodations and/or services to
27   Plaintiffs, harming Plaintiffs as set forth throughout this action, notably including
28   deterring Plaintiffs from utilizing the City of San Diego’s system of sidewalks,
                                     25
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1185 Page 26 of 28




 1   crosswalks, curb ramps, transit stops, pedestrian crossings and other walkways. The
 2   conduct of Defendant was a substantial factor in causing Plaintiffs’ harm.
 3         109. Whoever denies, aids, or incites a denial, or makes any discrimination or
 4   distinction contrary to the provisions of the Unruh Civil Rights Act, is liable for each
 5   and every offense for the actual damages, and any amount that may be determined by a
 6   jury, or a court sitting without a jury, up to a maximum of three times the amount of
 7   actual damage but in no case less than a $4,000, suffered by a person denied rights under
 8   the Act. In addition, a court may award attorney's fees to a prevailing plaintiff. Ca. Civil
 9   Code § 52(a).
10         110. Plaintiffs seek an award of statutory damages of at least $4,000 per
11   violation, available as the statutory minimum penalty for each violation of each
12   Plaintiffs’ rights, as well as attorneys’ fees and costs pursuant to Civil Code §52.
13         111. Defendant is engaged in conduct of resistance to the full enjoyment of
14   rights of people with disabilities as described herein. Plaintiffs are therefore entitled to
15   preventative relief including a permanent or temporary injunction and other equitable
16   relief. Ca. Civil Code § 52(c)(3).
17                                XII. PRAYER FOR RELIEF
18         112. Lead Plaintiffs, individually, and on behalf of the Putative Class, pray for
19   judgment and relief against Defendant as follows:
20                A. For an order declaring this a class action pursuant to Rule 23 of the
21                    Federal Rules of Civil Procedure on behalf of the Putative Class
22                    described herein and appointing Lead Plaintiffs to serve as class
23                    representatives and Plaintiffs’ counsel Neil Dymott Frank McCabe and
24                    Hudson, APLC as Lead Counsel for the Putative Class;
25                B. For an order enjoining the City of San Diego from permitting dockless
26                    vehicles to be present in any manner, including parking and storage,
27                    on the system of sidewalks, crosswalks, curb ramps, transit stops,
28                    pedestrian crossings and other walkways in the City of San Diego;
                                     26
     SECOND AMENDED CLASS ACTION COMPLAINT                     CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1186 Page 27 of 28




 1              C. For an order that this matter remain under this Court’s jurisdiction until
 2                   Defendant fully complies with the Orders of this Court;
 3              D. For statutory minimum penalty arising from Defendant’s wrongful and
 4                   illegal conduct;
 5              E. For an award of reasonable attorneys’ fees and all costs and expenses
 6                   incurred in the course of prosecuting this action;
 7              F. For pre-judgment and post-judgment interest at the legal rate; and
 8              G. For such other and further relief as the Court deems just and proper.
 9                                      JURY DEMAND
10        Plaintiffs demand a trial by jury on all issues so triable.
11                                   Respectfully submitted,
     Dated: April 10, 2020           NEIL, DYMOTT, FRANK, MCCABE & HUDSON
12                                   A Professional Law Corporation
13
                                     By:    s/   Robert W. Frank
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21

22   Dated: April 10, 2020           DISABILITY RIGHTS CALIFORNIA
23
                                     By:    s/   Ann E. Menasche
24                                          Ann E. Menasche,
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27

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                                     27
     SECOND AMENDED CLASS ACTION COMPLAINT                    CASE NO. 3:19-cv-00054-JM-BGS
Case 3:19-cv-00054-JM-BGS Document 97 Filed 04/15/20 PageID.1187 Page 28 of 28




 1   Dated: April 10, 2020       DISABILITY RIGHTS CALIFORNIA
 2
                                 By:   s/   Ben Conway
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     SECOND AMENDED CLASS ACTION COMPLAINT            CASE NO. 3:19-cv-00054-JM-BGS
